    Case 5:17-cv-02514-JGB-SHK Document 105 Filed 12/10/18 Page 1 of 2 Page ID #:1007
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Central District
                                                       __________ Districtofof
                                                                             California
                                                                               __________
                           Raul Novoa
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 5:17-cv-02514-JGB-SHKx
                     The GEO Group, Inc.                                      )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:                                    Correct Care Solutions, LLC, c/o Corporate Creations Network, Inc.

                                                       (Name of person to whom this subpoena is directed)

      ✔
      ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See attached Rider A to Subpoena.



 Place: Court Reporting Service                                                         Date and Time:
          727 N. Waco Avenue, Suite 175                                                                      12/21/2018 9:00 am
          Wichita, KS 67203

     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        11/30/2018

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                    /s/ Lydia A. Wright
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)     Raul Novoa
                                                                        , who issues or requests this subpoena, are:
365 Canal St., Ste. 1170, New Orleans, LA 70130, lwright@burnscharest.com, (504)799-2845

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
    Case 5:17-cv-02514-JGB-SHK Document 105 Filed 12/10/18 Page 2 of 2 Page ID #:1008
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 5:17-cv-02514-JGB-SHKx

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any) Correct Care Solutions, LLC
on (date) November 30, 2018             .

          x I served the subpoena by delivering a copy to the named person as follows:
          ’                                                                                                            c/o Corporate Creations
           Network, Inc., Jacqueline Atherstone, Administrator, 4601 E Douglas Ave, Suite 700, Wichita, KS @ 1:05 p.m.
                                                                       on (date) December 7, 2018       ; or

          ’ I returned the subpoena unexecuted because:
                                                                                                                                                   .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                       .

My fees are $                                     for travel and $                              for services, for a total of $              0.00   .


          I declare under penalty of perjury that this information is true.


Date:     December 7, 2018
                                                                                                   Server’s signature

                                                                                      Michael Conklin / Special Process Server
                                                                                                 Printed name and title




                                                                                    P.O. Box 781444, Wichita, KS 67278-1444
                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
